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 7                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
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10
     UNITED STATES OF AMERICA,                       NO. CR23-5167 DGE
11
                                                     ORDER CONTINUING TRIAL
12                                  Plaintiff,
13                          v.
14
     JEREMY CRAHAN,
15
16                                  Defendant.
17
18         Having considered the record and the parties’ joint motion to continue the trial, the
19 Court FINDS that, for the reasons detailed in the parties’ joint motion, the ends of justice
20 served by granting a continuance outweigh the best interests of the public and the defendant
21 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(i), (iv).
22         IT IS THEREFORE ORDERED that the parties’ joint motion to continue the trial
23 date and other dates is GRANTED.
24         The trial shall be rescheduled on October 30, 2023, and the pretrial motions deadline
25 shall be September 5, 2023.
26         IT IS FURTHER ORDERED that the time between the date of the filing of the
27 parties’ joint motion and the new trial date is excluded in computing the time within which
28 trial must commence because the ends of justice served by granting this continuance


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 1 outweigh the best interest of the public and the defendant in a speedy trial. 18 U.S.C. §
 2 3161(h)(7)(A). Failure to grant this continuance would be likely to result in a miscarriage of
 3 justice, and would deny counsel for the defendant the reasonable time necessary for effective
 4 preparation for pretrial proceedings and the trial itself, taking into account the exercise of
 5 due diligence. Id. § (B)(i), (iv).
 6         Dated this ____ day of June, 2023.
 7
 8                                                   __________________________
                                                     DAVID G. ESTUDIO
 9
                                                     United States District Judge
10
11
12 Presented by:
13
   s/ Todd Greenberg
14 Todd Greenberg
   Assistant United States Attorney
15
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17
   s/ Lance M. Hester
18 Lance M. Hester
   Counsel for Jeremy Crahan
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